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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK

IN RE: CANON U.S.A DATA BREACH
LITIGATION
                                              Case No.: 1:20-cv-06239-AMD-SJB
This Documents Relates To:

All Actions




  STIPULATION AND [PROPOSED] ORDER FOR EXTENSION OF DEFENDANTS TO
   FILE ANSWER TO CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

         WHEREAS, On March 15, 2022, this Court ruled on Defendants’ Motion to Dismiss,

  granting the motion in part and denying the motion in part (Dkt. 40);

         WHEREAS, pursuant to Fed. R. Civ. P. 12(a)(4), Defendants’ currently have until March

  29, 2022 to answer the remaining allegations Consolidated Amended Class Action Complaint

  (“Complaint”);

         WHEREAS, due to the length of the Complaint, Defendants have requested an extension

  of time to file an Answer to the Complaint for the remaining allegations;

         WHEREAS, Plaintiffs consent to a 14-day extension of time for Defendants to Answer the

  remaining allegations of the Complaint;

         WHEREAS, ths is Defendants’ first request for an extension of time to file an to Answer

  to the remaining allegations of the Complaint since the decision on the Motion to Dismiss;

         NOW THEREFORE, the Parties through their respective counsel hereby stipulate and

  agree that Defendants’ time to answer the remaining allegations of the Complaint shall be extended

  through and including April 12, 2022.
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 IT IS SO STIPULATED.


 Dated: March 25, 2022

 Counsel for Defendants

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 IT IS SO ORDERED:




 DATED: _______________________            __________________________________
                                           HONORABLE ANN M. DONNELLY
                                           UNITED STATES DISTRICT JUDGE
